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Exhibit S
Case 2:16-cr-00155-JLL Document 14-22 Filed 07/14/16 Page 2 of 3 PagelD: 246

Tuesday, May 24, 2016 at 11:00:12 AM Eastern Daylight Time

 

Subject: Lee Higgins Tweets

Date: Tuesday, October 14, 2014 at 5:18:57 PM Eastern Daylight Time
From: Adam Ford

To: Grippo, Nicholas (USANJ)

cc: Gurbir S. Grewal

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Putnam D.A. defends calling Weschaster Assistant 0A. Fred Green “incompetent.” says he cant
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Adam Levy says Sher f Don Smith destrayed his reputation: ret Lore

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Putnam D.A, said ne doesn't know who paid his brotirer-in-law to represent Alex Hoss
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sm Lee Higgins 2+ Follow
- @LeeHigginsi

Putnam D.A. says U.S. Attorney's Office and FBI
spoke to him about Guy Gentile
lohud.us/1vE2cxn via @lohud

Adam Levy testifies about relationship with ex-trainer

Putnam County District Attorney Adam Levy testified in a $5 million defamation case
about his relationship with his former, live-in personal trainer who was charged ...
lohud.com

3:50 AM - 4 Oct 2014

& 23 eee

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